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                                                                            EXHIBIT 10

GLADIATOR HOME SECURITY                    BILLED TO:
20102 Gunters Ridge Dr.                    Jerod Furr
Spring, TX 77379                           5450 Honea Egypt Rd
info@gladiatorhomesecurity.com             Montgomery, TX, 77316
(832) 559-3489                             jerod.furr@alliance-energy.org


    Date      Invoice     Amount Description
  04/03/22               $8,246.47 Main House
  04/03/22               $2,904.38 Back Barn
  04/03/22                $606.19 Apartment
  04/03/22               $7,026.50 Shop
  04/03/22               $1,700.61 Gate
                        $20,484.15 Total

                                                Quotes signed by owner Michael Ezzelle




                                                                            Exhibit 16


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ARROYO’S REMODELING                            BILLED TO:
6910 Skyline Park Dr                           Jerod Furr
Katy, TX, 77449                                5450 Honea Egypt Rd
arroyos-remodeling.com                         Montgomery, TX, 77316
(281) 620-2340                                 jerod.furr@alliance-energy.org




    Date      Invoice    Amount       Description
 06/19/22       62       $24,575.00 Plumbing, sheetrock, electrical
                          $4,375.00 Install five SCHLAGE door locks with padlock
                            $805.00 48’ x 66’ picture window
 06/23/22       63       $38,500.00 Wood floor, MAPEI ECO 995 glue, red oak shoe
                                    mold, float bags
                         $15,750.00 Wood floor preparation and install
 07/26/22       66       $11,350.00 Guest shower
 07/26/22       67       $28,350.00 Paint french doors, framing, electrical, AC vents,
                                    window 24" x 36"
 08/21/22       68       $43,150.00 Carpentry, stain, paint
 09/13/22       69        $9,900.00 Floor tile installation Re Master bathroom, master
                                    closets, guest bathroom, hallway bathroom, laundry
 09/13/22       70       $26,165.00 Granite installation
 09/13/22       71       $24,860.00 Paint, electrical, plumbing
 11/14/22       76        $1,550.00 Old house repairs and new house items
                        $229,330.00 Total




                                                                                Exhibit 16


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                                   ARROYO’S REMODELING
                                                           Invoice
Invoice No:               62                                                                   6910 Skyline Park Dr
Date:                     06/19/2022                                                                Katy, TX, 77449
Terms:                    NET 7                                                              arroyos-remodeling.com
Due Date:                 06/26/2022                                                                     281-620-2340

Bill To:                  ALLIANCE ENERGY JAROD
                          jerod.furr@alliance-energy.org



Description                                                                      Quantity       Rate         Amount

PLUMBING, SHEETROCK, ELECTRICAL                                                         1   $24,575.00    $24,575.00


INSTALL FIVE SCHLAGE DOOR LOCKS WITH PADLOCK                                            1    $4,375.00      $4,375.00


48’X66’ PICTURE WINDOW                                                                  1      $805.00       $805.00


Install 25 sheets of drywall on master bathroom ,tape,float and light texture


Install 4 sheets of drywall on entry hall way, tape, float and light texture


Install 1 sheet of drywall on bedroom #2 , tape float and light texture


install 3 sheets of drywall on office ,tape, float and light texture


install 6 sheets of drywall on living room walls ,tape,float and light texture


Install 8 sheets of drywall on living room ceiling ,tape,float and texture


install six sheets of drywall on kitchen ceiling ,tape,float and texture


install 15 sheets of drywall on laundry,tape,float and texture


install 4 sheets of drywall on hallway bathroom,tape,float and light texture


install 5 sheets of drywall on guest bathroom,tape,float and texture


install 16 sheets of drywall on pantry,tape,float and texture                           Exhibit 16
install 4 sheets of greenrock on kitchen backsplash




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Description                                                                                    Quantity    Rate    Amount

install 3 sheets of drywall on wall on guest bathroom,tape,float and texture


install 4 sheets of drywall on garage furr down ,tape,float and texture


repair 4 holes on garage from mini split installation and install new insulation


relocate water supply on master bathroom for toilet on left side and install new angle stop
valve


bust up of concrete to move toilet location and install new toilet flange with 4” pvc pipe


relocate water supply on master bathroom for toilet on right side and install new angle stop
valve


bust up 4 ft of concrete to move toilet location and install new flange with 4” pvc pipe


bust up 3ft of concrete to relocate drain on new free standing tub


bust up concrete to cap 1-1/2 pipe from bidet on left side bathroom


run 25lf of 1/2 pex for new pot filler on kitchen


install two new washing machine outlet box on laundry


install two new gas outlet box for dryer


install 4 new receptacles in master bathroom closet


frame 14’X40’ opening for niche on both closets


relocate shower valve from left side wall to right side wall on guest shower


bust up 15lf of concrete to run hot and cold water and electrical to island


install new exhaust fan on hallway bathroom


install two new 6” led lights on hallway bathroom


install new 4” dryer vent both sides


reroute 3/4 pipe and 1” pipe on laundry room


run new drain line and water supply from guest bathroom to pantry


demo office cabinets and sheetrock


repair wall on master bedroom,skim coat and texture                                                   Exhibit 16




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Payment Details                                                              Subtotal                $29,755.00
An advance payment of $11,021.25 is due by 06/02/2022.                         TAX 0%                     $0.00
                                                                                Total                $29,755.00
                                                                                 PAID                     $0.00


                                                                Balance Due                 $29,755.00
                                                               Deposit due 06/02/2022                $11,021.25




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                                     ARROYO’S REMODELING
                                                           Invoice
Invoice No:               63                                                                          6910 Skyline Park Dr
Date:                     06/23/2022                                                                        Katy, TX, 77449
Terms:                    NET 7                                                                     arroyos-remodeling.com
Due Date:                 06/30/2022                                                                           281-620-2340

Bill To:                  ALLIANCE ENERGY JAROD
                          jerod.furr@alliance-energy.org



Description                                                                    Quantity            Rate            Amount

WOOD FLOOR , MAPEI ECO 995 GLUE ,RED OAK SHOE MOLD,FLOAT BAGS                            1     $38,500.00       $38,500.00


WOOD FLOOR PREPARATION AND INSTALL                                                       1     $15,750.00       $15,750.00



                                                                                    Subtotal                    $54,250.00
Payment Details                                                                       TAX 0%                          $0.00
An advance payment of $20,094.20 is due by 06/10/2022.                                 Total                    $54,250.00
                                                                                        PAID                          $0.00


                                                                       Balance Due                     $54,250.00
                                                                      Deposit due 06/10/2022                    $20,094.20




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                                     ARROYO’S REMODELING
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Invoice No:                66                                                            6910 Skyline Park Dr
Date:                      07/26/2022                                                         Katy, TX, 77449
Terms:                     NET 7                                                       arroyos-remodeling.com
Due Date:                  08/02/2022                                                            281-620-2340

Bill To:                   ALLIANCE ENERGY JAROD
                           jerod.furr@alliance-energy.org



Description                                                           Quantity       Rate            Amount

GUEST SHOWER                                                                 1   $11,350.00        $11,350.00


install 2X8 around shower wall for shower pan                                1        $0.00             $0.00


bust up concrete to install new p trap and new fha drain                     1        $0.00             $0.00


make slope prior to install shower pan                                       1        $0.00             $0.00


install shower pan                                                           1        $0.00             $0.00


make slope after shower pan                                                  1        $0.00             $0.00


install 18 sheets of hardie becker                                           1        $0.00             $0.00


water proof walls with redguard                                              1        $0.00             $0.00


install 320sqft of tile on walls,ceiling,and floor                           1        $0.00             $0.00


install frameless glass door                                                 1        $0.00             $0.00


install 100sqft of tile on walls toilete area                                1        $0.00             $0.00


install 33lf of bullnose                                                     1        $0.00             $0.00




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Payment Details                                                             Subtotal                $11,350.00
An advance payment of $4,204.04 is due by 06/22/2022.                         TAX 0%                     $0.00
                                                                               Total                $11,350.00
                                                                                PAID                     $0.00


                                                               Balance Due                 $11,350.00
                                                              Deposit due 06/22/2022                 $4,204.04




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                                     ARROYO’S REMODELING
                                                             Invoice
Invoice No:                 67                                                                          6910 Skyline Park Dr
Date:                       07/26/2022                                                                       Katy, TX, 77449
Terms:                      NET 7                                                                     arroyos-remodeling.com
Due Date:                   08/02/2022                                                                            281-620-2340

Bill To:                    ALLIANCE ENERGY JAROD
                            jerod.furr@alliance-energy.org



Description                                                                               Quantity       Rate         Amount

PAINT,FRENCH DOORS,FRAMING,                                                                      1   $28,350.00    $28,350.00
ELECTRICAL,AC VENTS


WINDOW 24”X46”                                                                                   0      $550.00          $0.00


install 7 exterior french doors and paint both sides                                             1        $0.00          $0.00


Install 36” exterior door on laundry and paint both sides                                        1        $0.00          $0.00


frame 12ft long by 3ft opening from master bedroom to closet room and install sheetrock          1        $0.00          $0.00
where needed


Reroute electrical on closet for opening                                                         1        $0.00          $0.00


Install new receptacle on bedroom #2 for tv                                                      1        $0.00          $0.00


remove ceiling fan and install new 6” led light on jarod’s closet                                1        $0.00          $0.00


paint bedroom #3 closet walls                                                                    1        $0.00          $0.00


paint one door with trim                                                                         1        $0.00          $0.00


paint 48lf of shelving                                                                           1        $0.00          $0.00


paint walls two coats bedroom #3                                                                 1        $0.00          $0.00


paint two doors with trim                                                                        Exhibit
                                                                                                 1        16
                                                                                                      $0.00              $0.00


paint 56lf of baseboard                                                                          1        $0.00          $0.00




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Description                                                                Quantity     Rate     Amount

paint 3ftX8ft cabinet including 5 doors                                           1      $0.00     $0.00


paint 2 sets of shutters                                                          1      $0.00     $0.00


paint 2 doors on guest bathroom,10lf of baseboard and 2 shutters                  1      $0.00     $0.00


paint walls two coats on bedroom #2                                               1      $0.00     $0.00


paint two doors with trim                                                         1      $0.00     $0.00


paint 3ftX8ft including 5 doors                                                   1      $0.00     $0.00


paint two sets of shutters                                                        1      $0.00     $0.00


paint 45lf of baseboard                                                           1      $0.00     $0.00


paint closet walls on bedroom #2                                                  1      $0.00     $0.00


paint one door with trim                                                          1      $0.00     $0.00


paint 56lf of shelving                                                            1      $0.00     $0.00


paint 32lf of baseboard                                                           1      $0.00     $0.00


paint two coats bedroom hallway walls                                             1      $0.00     $0.00


paint one case opening                                                            1      $0.00     $0.00


paint 22 lf of baseboard                                                          1      $0.00     $0.00


paint closet walls by kitchen,shelf,door with trim,baseboard                      1      $0.00     $0.00


paint walls two coats on entry way                                                1      $0.00     $0.00


paint one case opening                                                            1      $0.00     $0.00


paint 23lf of baseboard                                                           1      $0.00     $0.00


paint walls two coats on foyer                                                    1      $0.00     $0.00


paint 24lf of baseboard                                                           1      $0.00     $0.00


paint one case opening                                                            1      $0.00     $0.00


paint walls two coats on dining room                                              1      $0.00     $0.00


paint one case opening                                                            Exhibit
                                                                                  1        16
                                                                                       $0.00       $0.00


paint 30lf of baseboard                                                           1      $0.00     $0.00




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Description                                                                                   Quantity    Rate      Amount

paint walls two coats on laundry hallway                                                             1    $0.00        $0.00


paint one case opening                                                                               1    $0.00        $0.00


paint one door with trim                                                                             1    $0.00        $0.00


install two doors on master bath toilete area                                                        1    $0.00        $0.00


install one door on bedroom #2                                                                       1    $0.00        $0.00


paint two sets of shutters on office                                                                 1    $0.00        $0.00


paint jarod’s closet walls two coats                                                                 1    $0.00        $0.00


paint two sets of shutters for master bedroom doors                                                  1    $0.00        $0.00


install 22 ac vents throughout entire house                                                          1    $0.00        $0.00


install new exhaust vent on laundry room                                                             1    $0.00        $0.00


frame new window 24”X46” on master closet                                                            1    $0.00        $0.00


run electrical on master bathroom to add two new scounces                                            1    $0.00        $0.00


close up old opening where window was and install sheetrock,tape,float and texture                   1    $0.00        $0.00



                                                                                          Subtotal                $28,350.00
Payment Details                                                                             TAX 0%                     $0.00
An advance payment of $10,500.84 is due by 07/16/2022.                                       Total                $28,350.00
                                                                                              PAID                     $0.00


                                                                             Balance Due                 $28,350.00
                                                                            Deposit due 07/16/2022                $10,500.84




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                                    ARROYO’S REMODELING
                                                            Invoice
Invoice No:                68                                                                           6910 Skyline Park Dr
Date:                      08/21/2022                                                                        Katy, TX, 77449
Terms:                     NET 7                                                                      arroyos-remodeling.com
Due Date:                  08/28/2022                                                                             281-620-2340

Bill To:                   ALLIANCE ENERGY JAROD
                           jerod.furr@alliance-energy.org



Description                                                                             Quantity         Rate         Amount

CARPENTRY , STAIN ,PAINT                                                                       1     $43,150.00    $43,150.00


paint old house kitchen,breakfast,dining,livingroom,toilete area and upstairs theater          1          $0.00          $0.00


install and paint 250lf of baseboard throughout the house                                      1          $0.00          $0.00


install and paint 350lf of crown molding                                                       1          $0.00          $0.00


install 4” flexible pipe to all exhaust fans and venting them to the soffit                    1          $0.00          $0.00


install two 4” led recessed light on venthood box                                              1          $0.00          $0.00


install master bathroom window and trim around                                                 1          $0.00          $0.00


install three double doors in office and trim around                                           1          $0.00          $0.00


install ten pair of hinges on bedroom #2 and bedroom #3                                        1          $0.00          $0.00


install powder room door and trim                                                              1          $0.00          $0.00


install 7 exterior door locks                                                                  1          $0.00          $0.00


run 4” hard pipe to vent dryer                                                                 1          $0.00          $0.00


install venthood and connect 12” pipe                                                          1          $0.00          $0.00


make opening on pantry for cabinets to fit                                                     1   Exhibit
                                                                                                       $0.0016           $0.00


install double doors from hallway to master bedroom                                            1          $0.00          $0.00




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                              ARROYO’S REMODELING
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Description                                                                                    Quantity         Rate       Amount

prime and paint master cabinets including drawers,doors and shelfs                                      1       $0.00         $0.00


prime and paint master closet cabinets including drawers,doors and shelfs                               1       $0.00         $0.00


prime and paint jarod’s closet cabinets including drawers,doors and shelfs                              1       $0.00         $0.00


prime and paint office cabinets inside closet including double doors,trim and shelfs                    1       $0.00         $0.00


prime and paint office cabinet and island including drawers,doors and shelfs                            1       $0.00         $0.00


prime and paint guest bathroom cabinet including drawers and doors                                      1       $0.00         $0.00


prime and paint laundry cabinets including beadboard, drawers and doors                                 1       $0.00         $0.00


stain and varnish master bedroom paneling                                                               1       $0.00         $0.00


stain and varnish powder room cabinet including drawers and doors                                       1       $0.00         $0.00


stain and varnish kitchen island including drawers,doors and shelfs                                     1       $0.00         $0.00


stain and varnish vent hood box                                                                         1       $0.00         $0.00


stain and varnish living room beams                                                                     1       $0.00         $0.00



                                                                                             Subtotal                    $43,150.00
Payment Details                                                                                TAX 0%                         $0.00
An advance payment of $15,982.76 is due by 08/11/2022.                                          Total                    $43,150.00
                                                                                                 PAID                         $0.00


                                                                                Balance Due                     $43,150.00
                                                                               Deposit due 08/11/2022                    $15,982.76




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                                   ARROYO’S REMODELING
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Invoice No:                          69                                                                6910 Skyline Park Dr
Date:                                09/13/2022                                                             Katy, TX, 77449
Terms:                               NET 7                                                           arroyos-remodeling.com
Due Date:                            09/20/2022                                                                281-620-2340

Bill To:                             JAROD



Description                                                     Quantity                 Rate                      Amount

FLOOR TILE INSTALLATION                                                1              $9,900.00                   $9,900.00
MASTER BATHROOM
MASTER CLOSETS
GUEST BATHROOM
HALLWAY BATHROOM
LAUNDRY



                                                                                    Subtotal                      $9,900.00
Payment Details                                                                       TAX 0%                          $0.00
An advance payment of $3,666.96 is due by 05/20/2022.                                  Total                      $9,900.00
                                                                                        PAID                          $0.00


                                                                       Balance Due                       $9,900.00
                                                                      Deposit due 05/20/2022                      $3,666.96




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                                   ARROYO’S REMODELING
                                                           Invoice
Invoice No:               70                                                                           6910 Skyline Park Dr
Date:                     09/13/2022                                                                        Katy, TX, 77449
Terms:                    NET 7                                                                      arroyos-remodeling.com
Due Date:                 09/20/2022                                                                           281-620-2340

Bill To:                  ALLIANCE ENERGY JAROD
                          jerod.furr@alliance-energy.org



Description                                                    Quantity                   Rate                     Amount

GRANITE INSTALLATION                                                  1              $26,165.00                  $26,165.00


8 slabs


fabrication and install



                                                                                    Subtotal                     $26,165.00
Payment Details                                                                       TAX 0%                          $0.00
An advance payment of $9,691.52 is due by 08/24/2022.                                  Total                     $26,165.00
                                                                                        PAID                          $0.00


                                                                          Balance Due                   $26,165.00
                                                                      Deposit due 08/24/2022                      $9,691.52




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                                      ARROYO’S REMODELING
                                                             Invoice
Invoice No:                 71                                                              6910 Skyline Park Dr
Date:                       09/13/2022                                                              Katy, TX, 77449
Terms:                      NET 7                                                         arroyos-remodeling.com
Due Date:                   09/20/2022                                                                 281-620-2340

Bill To:                    ALLIANCE ENERGY JAROD
                            jerod.furr@alliance-energy.org



Description                                                                 Quantity       Rate            Amount

PAINT,ELECTRICAL,PLUMBING                                                          1   $24,860.00       $24,860.00


paint kitchen cabinets                                                             1        $0.00             $0.00


paint pantry cabinets                                                              1        $0.00             $0.00


paint one set of shutters on master bedroom                                        1        $0.00             $0.00


paint chiminey two coats on living room                                            1        $0.00             $0.00


paint chiminey two coats on master bedroom                                         1        $0.00             $0.00


paint pantry walls two coats                                                       1        $0.00             $0.00


paint two exterior doors on master bedroom                                         1        $0.00             $0.00


paint Jarod’s closet door two coats                                                1        $0.00             $0.00


relocate ceiling fan on master bedroom repair two holes,patch and texture          1        $0.00             $0.00


relocate three 6” lights on kitchen, repair three holes,patch and texture          1        $0.00             $0.00


install laundry doors and trim, paint two coats both sides                         1        $0.00             $0.00


install pantry double doors and trim,paint two coats both sides                    1        $0.00             $0.00


paint office walls two coats                                                       1   Exhibit
                                                                                          $0.00 16            $0.00


paint office closet walls two coats                                                1        $0.00             $0.00




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Description                                                                       Quantity           Rate        Amount

paint master bedroom walls two coats                                                          1      $0.00          $0.00


paint master bathroom walls two coats                                                         1      $0.00          $0.00


paint master closet walls two coats                                                           1      $0.00          $0.00


install double doors on master bedroom and paint trim                                         1      $0.00          $0.00


frame and install sheetrock on master closet to match door height                             1      $0.00          $0.00


install door jam and trim on two openings master closet                                       1      $0.00          $0.00


install wallpaper on office ceiling                                                           1      $0.00          $0.00


install wallpaper on laundry walls                                                            1      $0.00          $0.00


install jacuzzi tub and tub filler on master bathroom                                         1      $0.00          $0.00


install guest bathroom toilet                                                                 1      $0.00          $0.00


install 20lf of led lights on pantry with switch                                              1      $0.00          $0.00



install two master bathroom toilets                                                           1      $0.00          $0.00


Install powder room toilet                                                                    1      $0.00          $0.00


install wallpaper on powder room                                                              1      $0.00          $0.00


install backsplash on laundry room                                                            1      $0.00          $0.00


install backsplash on pantry                                                                  1      $0.00          $0.00



                                                                                   Subtotal                    $24,860.00
Payment Details                                                                      TAX 0%                         $0.00
An advance payment of $9,208.14 is due by 09/07/2022.                                 Total                    $24,860.00
                                                                                       PAID                         $0.00


                                                                      Balance Due                     $24,860.00
                                                                     Deposit due 09/07/2022                     $9,208.14




                                                                                                  Exhibit 16




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                                   ARROYO’S REMODELING
                                                           Invoice
Invoice No:               76                                                            6910 Skyline Park Dr
Date:                     11/14/2022                                                         Katy, TX, 77449
Terms:                    NET 7                                                       arroyos-remodeling.com
Due Date:                 11/21/2022                                                            281-620-2340

Bill To:                  ALLIANCE ENERGY JAROD
                          jerod.furr@alliance-energy.org



Description                                                          Quantity      Rate             Amount

OLD HOUSE REPAIRS AND NEW HOUSE ITEMS                                       1   $1,550.00          $1,550.00


remove garage fan and repair hole and paint                                 1       $0.00              $0.00


fix hole on bedroom door and paint door                                     1       $0.00              $0.00


fix drainage on bathroom tub                                                1       $0.00              $0.00


install 1/2 galvanized cap on gas supply                                    1       $0.00              $0.00


install 3 toilet paper holders                                              1       $0.00              $0.00


install dish washer on apt.                                                 1       $0.00              $0.00


remove and install powder bath faucet                                       1       $0.00              $0.00


remove satellite dishes and haul away                                       1       $0.00              $0.00


install 35lf of french drain on outside bathroom                            1       $0.00              $0.00




                                                                                 Exhibit 16




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                              ARROYO’S REMODELING
                Case 25-30155 Document 80-20 Filed -inInvoice
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                                                                - 11/14/2022
                                                                    04/24/25 Page 25
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Payment Details                                                             Subtotal                $1,550.00
An advance payment of $574.12 is due by 11/14/2022.                           TAX 0%                    $0.00
                                                                               Total                $1,550.00
                                                                                PAID                    $0.00


                                                               Balance Due                   $1,550.00
                                                              Deposit due 11/14/2022                 $574.12




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                            56-10 Filed in TXSB on 05/14/25
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LUIS MARTINEZ, INC…REMODELING                    BILLED TO:
& CUSTOM CABINETRY                               Jerod Furr
28 Yewleaf Rd                                    5450 Honea Egypt Rd
The Woodlands, TX, 77381                         Montgomery, TX, 77316
luismartinezinc@yahoo.com                        jerod.furr@alliance-energy.org
(713) 240-5511


        Date     Invoice Amount        Description
      07/13/22      2603    $5,000.00 1st draw to cover guys labor & materials
      07/30/22      2608    $8,000.00 2nd draw to cover guys labor please
      08/01/22      2613   $11,500.00 3rd draw to cover guys labor and part of materials
      08/07/22      2617    $4,300.00 4th draw to cover guys labor please.
      08/13/22      2626   $14,000.00 5th draw to cover guys labor/materials
      08/29/22      2636   $16,000.00 6th draw to cover guys labor/materials
      09/20/22      2655   $33,371.00 Scope of Work i
                           $92,171.00 Total




                                                                                  Exhibit 16


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End Notes
i
    SCOPE OF WORK...INCLUDES MATERIALS & LABOR MASTER BATHROOM:

      Her side
      o Made 3’6 wide x 9’ tall linen cabinet with flush inset doors & drawers with bead molding…
      o Made vanity 5’6 wide x 3’ tall with flush inset doors & drawers with bead molding and valance feet…
      o Made 34 s/f of block paneling above vanity for mirror inserts…
      o Made make up vanity 5’ wide x 31” tall, with flush inset drawers on the sides, drawer above, Made upper
          left & right-angled cabinets at 6’6 tall, made 21 S/F of block paneling above vanity for mirror inserts, and
          crown molding over top. (Paint grade) $7,590

      His side
      o Made 3’6 wide x 9’ tall linen cabinet with flush inset doors and drawers
      o Made vanity 5’6 wide x 3’ tall with flush inset doors & drawers, and valance feet
      o Made 34 s/f of block paneling above vanity, for mirror inserts. (Paint grade) $4,438

      Bench seat below window
      o Made 5’ wide x 16” tall x 18” deep, bench seat below window. (Paint grade) $378

      Master water closet
      o Made insert wall cabinets, 16” wide x 42” tall x 7” deep with overlay flat panel doors. (Paint grade) $397

      Master bedroom
      o Block paneled wall section 15’ wide x 8’6” tall, (21 blocks)
      o made door on lower right corner to cover beverage fridge and ran crown molding around top. (Maple
         wood) $3,900




                                                                                                      Exhibit 16


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Luis Martinez,Inc….Remodeling & Custom
Cabinetry
Invoice No:
Date:
                             2603
                             07/12/2022
                                                                                                   Invoice
Terms:                       NET 7                                                                 28 Yewleaf Rd
Due Date:                    07/19/2022                                                 The Woodlands, TX, 77381
Bill To:                     Jerod Furr                                                            713-240-5511
                             jerod.furr@alliance-energy.org                            luismartinezinc@yahoo.com
                             5450 Honea Egypt Rd
                             Montgomery, TX, 77316




Description                                                                                             Amount


* 1st draw to cover guys labor & materials.                                                            $5,000.00



                                                                           Subtotal                    $5,000.00
                                                                              Total                    $5,000.00
                                                                              PAID                        $0.00


                                                                    Balance Due                $5,000.00



Notes
WE APPRECIATE YOUR BUSINESS!
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Luis Martinez,Inc….Remodeling & Custom
Cabinetry
Invoice No:
Date:
                            2608
                            07/23/2022
                                                                                                  Invoice
Terms:                      NET 7                                                                 28 Yewleaf Rd
Due Date:                   07/30/2022                                                 The Woodlands, TX, 77381
Bill To:                    Jerod Furr                                                            713-240-5511
                            jerod.furr@alliance-energy.org                            luismartinezinc@yahoo.com
                            5450 Honea Egypt Rd
                            Montgomery, TX, 77316




Description                                                                                            Amount


* 2nd draw to cover guys labor please.                                                                $8,000.00



                                                                          Subtotal                    $8,000.00
                                                                             Total                    $8,000.00
                                                                             PAID                        $0.00


                                                                   Balance Due                $8,000.00



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Luis Martinez,Inc….Remodeling & Custom
Cabinetry
Invoice No:
Date:
                             2613
                             08/01/2022
                                                                                                   Invoice
Terms:                       NET 7                                                                 28 Yewleaf Rd
Due Date:                    08/08/2022                                                 The Woodlands, TX, 77381
Bill To:                     Jerod Furr                                                            713-240-5511
                             jerod.furr@alliance-energy.org                            luismartinezinc@yahoo.com
                             5450 Honea Egypt Rd
                             Montgomery, TX, 77316




Description                                                                                             Amount


* 3rd draw to cover guys labor and part of materials.                                                 $11,500.00



                                                                           Subtotal                   $11,500.00
                                                                              Total                   $11,500.00
                                                                              PAID                        $0.00


                                                                    Balance Due              $11,500.00



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Luis Martinez,Inc….Remodeling & Custom
Cabinetry
Invoice No:
Date:
                             2617
                             08/07/2022
                                                                                                   Invoice
Terms:                       NET 7                                                                 28 Yewleaf Rd
Due Date:                    08/14/2022                                                 The Woodlands, TX, 77381
Bill To:                     Jerod Furr                                                            713-240-5511
                             jerod.furr@alliance-energy.org                            luismartinezinc@yahoo.com
                             5450 Honea Egypt Rd
                             Montgomery, TX, 77316




Description                                                                                             Amount


* 4th draw to cover guys labor please.                                                                 $4,300.00



                                                                           Subtotal                    $4,300.00
                                                                              Total                    $4,300.00
                                                                              PAID                        $0.00


                                                                    Balance Due                $4,300.00



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Luis Martinez,Inc….Remodeling & Custom
Cabinetry
Invoice No:
Date:
                            2626
                            08/13/2022
                                                                                                  Invoice
Terms:                      NET 7                                                                 28 Yewleaf Rd
Due Date:                   08/20/2022                                                 The Woodlands, TX, 77381
Bill To:                    Jerod Furr                                                            713-240-5511
                            jerod.furr@alliance-energy.org                            luismartinezinc@yahoo.com
                            5450 Honea Egypt Rd
                            Montgomery, TX, 77316




Description                                                                                            Amount


* 5th draw to cover guys labor/materials                                                             $14,000.00



                                                                          Subtotal                   $14,000.00
                                                                             Total                   $14,000.00
                                                                             PAID                        $0.00


                                                                   Balance Due              $14,000.00



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Luis Martinez,Inc….Remodeling & Custom
Cabinetry
Invoice No:
Date:
                             2636
                             08/22/2022
                                                                                                   Invoice
Terms:                       NET 7                                                                 28 Yewleaf Rd
Due Date:                    08/29/2022                                                 The Woodlands, TX, 77381
Bill To:                     Jerod Furr                                                            713-240-5511
                             jerod.furr@alliance-energy.org                            luismartinezinc@yahoo.com
                             5450 Honea Egypt Rd
                             Montgomery, TX, 77316




Description                                                                                             Amount


* 6th draw to cover guys labor/materials.                                                             $16,000.00



                                                                           Subtotal                   $16,000.00
                                                                              Total                   $16,000.00
                                                                              PAID                        $0.00


                                                                    Balance Due              $16,000.00



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Luis Martinez,Inc….Remodeling & Custom
Cabinetry
Invoice No:
Date:
                             2655
                             09/13/2022
                                                                                                                                       Invoice
Terms:                       NET 7                                                                                                     28 Yewleaf Rd
Due Date:                    09/20/2022                                                                                    The Woodlands, TX, 77381
Bill To:                     Jerod Furr                                                                                                713-240-5511
                             jerod.furr@alliance-energy.org                                                              luismartinezinc@yahoo.com
                             5450 Honea Egypt Rd
                             Montgomery, TX, 77316




Description                                                                                                                                 Amount


SCOPE OF WORK...INCLUDES MATERIALS & LABOR


MASTER BATHROOM:                                                                                                                         $16,703.00
* Her side: Made 3’6 wide x 9’ tall linen cabinet with flush inset doors & drawers with bead molding…Made vanity 5’6 wide x 3’ tall
with flush inset doors & drawers with bead molding and valance feet…Made 34 s/f of block paneling above vanity for mirror inserts…
Made make up vanity 5’ wide x 31” tall, with flush inset drawers on the sides, drawer above, Made upper left & right angled cabinets
at 6’6 tall, made 21 S/F of block paneling above vanity for mirror inserts, and crown molding over top. (Paint grade) $7,590
* His side…Made 3’6 wide x 9’ tall linen cabinet with flush inset doors and drawers…Made vanity 5’6 wide x 3’ tall with flush inset
doors & drawers, and valance feet…Made 34 s/f of block paneling above vanity, for mirror inserts. (Paint grade) $4,438
* Made 5’ wide x 16” tall x 18” deep, bench seat below window. (Paint grade) $378
* Master water closet: Made insert wall cabinets, 16” wide x 42” tall x 7” deep with overlay flat panel doors. (Paint grade) $397


* Master bedroom: Block paneled wall section 15’ wide x 8’6” tall, (21 blocks), made door on lower right corner to cover beverage
fridge and ran crown molding around top. (Maple wood) $3,900




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                          Luis Martinez,Inc….Remodeling
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Description                                                                                                                                     Amount


CLOSETS:                                                                                                                                      $24,835.00
* Her closet window side: Made cabinet 9 l/f of cabinets (uppers & lowers) at 8’ tall, with flush inset doors & drawers with bead
molding, upper section cabinet with flush inset glass doors, adjustable shelfs and crown molding at top…Made 12 l/f of wardrobe
(close hanging) at 9’6 tall x 24” deep, with tall overlay detailed glass doors below, smaller doors above, and crown molding at top.
(Paint grade) $8,895
* Her other side closet: Made 12 l/f of wardrobe (close hanging cabinets) at 9’6 tall x 24” deep, with tall overlay detailed glass doors,
smaller doors above and crown molding at top…Made 12 l/f of cabinets (for shoes & hand bags) at x 9’6 tall x 14” deep with tall
overlay detailed glass doors on right side and smaller doors on the bottom on left side, with open sections on the top with bead
molding and adjustable shelfs. (Paint grade) $7,842

* His closet: Made (2) 4’ wide x 18” deep wardrobe built ins at 11’6” tall open for close hanging…Made middle section wardrobe
cabinet 4’ wide x 11’6” tall x 24” deep, with tall
overlay glass doors with wood panel below, doors above, and crown molding at top.
(Paint grade) $2,820
* His closet: Made 11’6 wide x 8’6 tall built in cabinet, with all drawers below with flat panel drawer fronts, Open at top with
adjustable shelfs, bead molding around openings, and crown molding over top. (Paint grade) $5,278



HOBBY ROOM:                                                                                                                                   $10,701.00
* Made furniture type cabinet 6’ wide x 8’ tall…Lower middle section cabinet with flush inset drawers below with bead molding, Upper
section made detailed flush inset cabinet glass doors above with adjustable shelfs, ran decorative crown molding around top…
Includes seven flush inset detailed drawers on each side of lower end cabinets and detailed glass doors above…NOTE: Cabinet was
labor intense. (Paint grade) $4,698
* Made free standing island 8’ x 3’6 with post/legs on corners, made a total of 15 flush inset stacked drawers in openings all around
island, open lower shelf for baskets, includes bunn feet on the bottom of each post. (Paint grade) $2,675

* Closet: Made 4’ wide x 8’ tall shelf built in unit, open with bead molding around and adjustable shelfs, ran crown molding around
top. $1,833
* Closet: Made lower cabinet with open cubbies for (gift wrapping rolls)…Made upper cabinet 2’ wide x 2’ deep open with shelfs, with
peg board above and ran crown molding. (Paint grade) $1,495


KITCHEN:                                                                                                                                      $22,342.00
* Oven side: Made built in cabinet for oven/microwave 3’2 wide x 9’6 tall x 26” deep with flush inset doors & drawers…Made cabinet
to the right, 5’4 wide x 9’6 tall, lower cabinet with flush inset doors & drawers, top cabinet with flush detailed doors, adjustable shelfs
and decorative crown molding at top. (Paint grade) $5,742
* Range side: Made (2) 2’ wide x 3’ tall lower cabinets left & right of range with flush inset doors & drawers. (Paint grade) $1,200
* Made upper vent-hood cabinet (above range) 9’5 wide x 6’2 tall x 26” deep, with block paneled ship lap wood. (Maple wood) $2,850
* Fridge side: Made built in cabinet for fridge 4’6 wide x 9’6 tall x 26” deep with flush inset doors above….Made 5.6 l/f of upper &
lower cabinets to the right of fridge, with flush inset doors & drawers, adjustable shelfs. (Paint grade) $4,565
* Made island 12’6 x 6’9 x 3’ tall, with flush inset doors & drawers, farm sink, pull out trash drawer, pull out below sink, stack of
drawers on the sides, doors on back side for storage access and sitting area. (Maple wood) $7,985


LAUNDRY ROOM:                                                                                                                                 $10,340.00
* Made (2) 3’ wide x 7’ tall cabinets for washer & dryer, with crown molding at top and added crown molding header at top for tile to
stop to…Made wood frame and two large doors to cover electrical panel boxes and water shut off valves. (Paint grade) $1,810
* Made 9’ wide x 10’ tall upper & lower cabinets, with flush inset doors & drawers with bead molding (lower cabinet all drawers) and
ran crown molding around top. (Paint grade) $6,570
* Installed 130 s/f of 1x6 ship lap all around room, and ran 1x2 wood band around top of
ship lap to break up. (Paint grade) $1,960                                                                                 Exhibit 16




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Description                                                                                                                               Amount


POWDER BATH:                                                                                                                             $4,500.00
* Made furniture piece vanity 4’ wide x 3’ tall, with flush inset drawers, decorative front and tapered legs. (Maple wood) $2,100

JACK & JILL BATH:
* Made vanity 8’ wide x 3’ tall with flush inset doors & drawers with bead molding and valance feet below. (Paint grade) $2,400


BEAMS:                                                                                                                                   $2,750.00
* Made crossed beams on pop up ceiling…Made two large beams being 24’ long x 10” tall x 8” wide….Made two bemas 16’ long x 9
1/2” tall x 8” wide. (Maple wood)


NOTE:
* All cabinets include soft close full extension drawer glides and soft close Euro hidden hinges.
* Price does NOT include Installment of finished cabinet hardware, knobs, pulls, chrome rods & flanges, close rod pull downs, etc


* Draws for labor paid up to date....                                                                                                            -
                                                                                                                                        $58,800.00



                                                                                                        Subtotal                        $33,371.00
                                                                                                           Total                        $33,371.00
                                                                                                            PAID                            $0.00


                                                                                        Balance Due                                 $33,371.00



Notes
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                                                                                                                       Exhibit 16




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